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                          No. 23-1449


            UNITED STATES COURT OF APPEALS
               FOR THE SEVENTH CIRCUIT



                 UNITED STATES OF AMERICA,
                                                           Appellee,

                                -v.-

                 ROBERT SYLVESTER KELLY
                                                    Defendant-Appellant.




  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
                   Case No. 1:19 CR 00567
          The Honorable Judge Harry D. Leinenweber


      BRIEF AND REQUIRED SHORT APPENDIX FOR
   DEFENDANT-APPELLANT ROBERT SYLVESTER KELLY


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Appellate Court No: _______________
                    23-1449

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               USA v. Robert Kelly

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           Appellant Robert Kelly

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Attorney’s Signature: ________________________________________
                      /s/ JENNIFER BONJEAN                     Date: ________________________________________
                                                                     03/22/2023

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          ________________________________________________________________________________________________________
           Robert Kelly

          ________________________________________________________________________________________________________

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Attorney’s Signature: ________________________________________
                      /s/ ASHLEY COHEN                         Date: ________________________________________
                                                                     03/22/2023

Attorney’s Printed Name: __________________________________________________________________________________
                         Ashley Cohen

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                         JURISDICTIONAL STATEMENT

      The jurisdiction of the United States District Court for the Northern District

of Illinois was found upon 18 U.S.C. § 3231. A grand jury sitting in the Northern

District of Illinois charged the Defendant by way of indictment with four counts of

child exploitation in violation of 18 U.S.C. § 2251(a); one count of conspiracy to

obstruct justice in violation of 18 U.S.C. § 371; three counts of conspiring and

receiving child pornography in violation of 18 U.S.C. §§ 2252(a)(2) and (b)(1); and

four counts of child exploitation in violation of 18 U.S.C. § 2422(b). [Dkt. No. 93]

      The jurisdiction of the United States Court of Appeals for the Seventh Circuit

is founded upon 28 U.S.C. § 1291 and 18 U.S.C. § 3742. A jury returned a verdict

finding Defendant guilty of three counts of 18 U.S.C. § 2251(a) and three counts of

18 U.S.C. § 2422(b) on September 14, 2022. [Dkt No. 335] Defendant's post-trial

motions were timely filed on November 15, 2022. [Dkt. Nos. 387 & 388] The post-

trial motions were denied on February 16, 2023. [Dkt. No. 416] Defendant was

sentenced on March 7, 2023. [Dkt No. 428]

      The judgment and conviction was entered on March 7, 2023. [Dkt. No. 428] A

notice of appeal was filed on March 9, 2023. [Dkt. No. 431]




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                 STATEMENT OF THE ISSUES FOR REVIEW

      1.     Whether Defendant's convictions for sexual exploitation and

inducement of a child must be reversed where the charges were brought outside the

applicable statute of limitations.

      2.     Whether the District Court abused its discretion when it denied

Defendant's motion to sever the inducement counts related to Nia and Pauline from

the child pornography counts related to Jane.

      3.     Whether the Defendant's 240-month above-guidelines range sentence

was both procedurally and substantively improper.




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                               STATEMENT OF THE CASE

       On February 13, 2020, the government filed a 13-count superseding

indictment charging Defendant Kelly with (1) four counts of violating 18 U.S.C. §

2251(a) ("the child pornography counts"); (2) one count of conspiracy to obstruct

justice in connection with his 2008 state-court acquittal; (3) three counts of violating

18 U.S.C. § 18 U.S.C. 2252(A) related to receiving the aforementioned child

pornography; and (4) five counts of violating 18 U.S.C. § 2422(b) ("the inducement

counts") [Dkt. No. 93] Kelly's co-defendants, Derrel McDavid and Milton Brown,

were charged in connection with obstruction of justice and receipt of child

pornography.

        After a four-week jury trial, the jury returned a guilty verdict against

Defendant as to three of the child pornography counts and three inducement counts.

Defendant was acquitted as to the remaining counts. McDavid and Brown were

both acquitted of all counts. [Dkt. No. 335]

       The charges for which Defendant was convicted (counts one through three

and nine) related primarily to minor 1 who used the pseudonym "Jane" at trial. One

inducement count (count ten) related to minor 3 who used the pseudonym "Nia" at

trial, and one inducement count (count twelve) related to minor 5 who used the

pseudonym "Pauline" at trial.1




1
 Defendant will refer to minor 5 as "Pauline" but advises this Court that minor 5 initially used her
nickname as her pseudonym which also started with the letter "P;" she later decided that she did not
wish to use her nickname so the pseudonym changed after the trial commenced.


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      The superseding indictment in the case largely charged Defendant with

conduct from the mid to late 1990s. Prior to trial, Defendant moved to dismiss all

counts related to sexual exploitation of a child on statute of limitations grounds.

[Dkt. No. 189] Defendant also moved pretrial to sever the counts related to Jane

from the remaining inducement counts where the evidence in connection with child

exploitation of Jane, including video recordings of the prohibited sexual activity,

was significantly stronger than the evidence related to the remaining inducement

counts. [Dkt. No. 196]

      The District Court denied both motions. [Dkt. No. 222]

      A.     Evidence Related to Jane

      Jane testified that she was born in September 1984 and was raised in Oak

Park, Illinois. (R. 700) When Jane was a junior in high school, she started being

home schooled because she was performing in a musical group with other members

of her family. (R. 702) Her entire family was involved in the music industry. (R. 702)

      Jane was introduced to the Defendant through her aunt Stephanie

("Sparkle") who was a singer who had collaborated with the Defendant. (R. 707;

715) The Defendant and "Sparkle" also had a romantic relationship. (R. 715) When

Jane was 13 or 14 years old, she would hang out at the Defendant's recording studio

with her aunt. (R. 716) Jane explained that she would go to the studio and watch

Defendant record with her aunt and it was nice to see them working and producing

music. (R. 725)




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      "Sparkle" began encouraging Jane to foster a "closer" relationship with the

Defendant. (R. 726) According to Jane, "Sparkle" told her to ask Defendant to be her

"godfather" and instructed her to sit on his lap and rub his head. (R. 726) Jane

wanted to have a closer relationship with the Defendant and did what her aunt

advised, asking Defendant to be her "godfather." The Defendant agreed. (R. 727)

Jane told her parents that the Defendant agreed to be her godfather and they were

pleased. (R. 727)

      Jane testified that her relationship and conversations with the Defendant

began to change, becoming more sexual and leading to "phone sex." (R. 729-730)

When Jane was 14, she and the Defendant began to engage in sexual contact. (R.

731; 739) The sexual contact involved touching and rubbing each other's genitalia,

oral sex, and kissing and hugging. (R 736). These occasions were frequent and

occurred at Defendant's studio, his home, and on his tour bus. (R. 733; 739) Jane's

parents allowed her to stay with the Defendant, including overnight. (R. 733) After

Jane turned 15, she and the Defendant started to have sexual intercourse. (R. 736)

      Defendant started video-recording his sexual activities with Jane when she

was 14 years old. (R. 766; 771) Jane testified that prior to taking the stand, she

viewed video footage of three separate sexual encounters with the Defendant, one

occurred in the living room of his home, one occurred in his bedroom, and one

occurred in a room referred to as the "log cabin" room in Defendant's home. (R. 767-

68) The videos depicted touching and oral sex but did not involve sexual intercourse.

(R. 773) Jane testified that she was 14 years old in all three videos that she




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identified. (R. 771; 778) The three videos were introduced into evidence as

Government's Exhibits 1 and 2; one of the videos was captured on Government's

Exhibit 1 and the two of the videos were captured on Government's Exhibit 2. (R.

773; 779) The three videos formed the basis of counts one through three of the

superseding indictment.

      B.     Evidence Related to Nia

      Nia testified that she met Defendant in a shopping mall in Atlanta in 1996

when she was 15 years old. (R. 2584) Nia was born in August of 1980. (R. 2583) Nia

obtained an autograph from the Defendant on which he allegedly wrote down his

phone number. (R. 2585) Nia admitted that she did not discuss her age with the

Defendant, and she no longer had the autograph he gave her. (R. 2619)

      Nia testified that the Defendant asked her if she was going to his concert in

Atlanta that evening. When she told the Defendant she did not have tickets,

Defendant arranged for her to obtain tickets. (R. 2585) Nia did not attend the

Defendant's concert but began calling the Defendant that evening. (R. 2586-87) Nia

explained that she had several conversations with the Defendant and that she liked

him. According to Nia, the Defendant arranged for her to travel to Minnesota to

attend his concert. (R. 2591) Nia attended the Defendant's concert but did not see

him until the following morning in her hotel room. (R. 2598) Nia testified that

Defendant kissed her, touched and kissed her breasts, and then masturbated. (R.

2602) Defendant told her that he wanted her to visit him in Chicago. (R. 2602)




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      Defendant did not follow up on the invitation and did not book any

arrangements for Nia to come to Chicago. (R. 2605) However, Nia made her own

arrangements and went to stay with family in Chicago the summer on 1996 -

unbeknownst to the Defendant. (R. 2605; 2635) Once in Chicago, Nia called the

Defendant; he invited her to his studio but made no arrangements for her to come

there. Nia convinced her cousins to take her to the studio. (R. 2606)

      Nia arrived at the studio with her cousins and Defendant showed them

around and took them to a waiting area where they could see him record. Nia and

her cousins stayed most of the evening but Defendant was recording and was not

hanging out with Nia and her cousins for most of the evening. (R.2610) At some

point, Nia was told Defendant wanted to talk to her in the hallway and Nia went

into the hallway to see him. Nia testified, "he greeted me with a hug, with a kiss,

and held on to her for a moment" and they "kind of made out a little." (R. 2611) Nia

elaborated, "I remember his hand being around my waist on my bottom, my butt.

And then he motioned his hands into my pants as we kissed. And he fondled my

chest, and he, you know, kissed we just kind of made out within the time frame that

we were in the hallway." (R. 2612) Nia stated, "he touched my vagina and he

caressed my bottom, my behind." (R. 2612) Nia testified that before she left, she had

a second encounter with Defendant. She stated they "embraced, hugged. He held on

to me, held my bottom and things of that nature but it wasn't as long as the first on.

It was more of like, you know, kind of, like a good-bye, see you later." (R. 2613)




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      Nia never saw or spoke to the Defendant again. But in 2002, Nia sued the

Defendant and the case settled for $500,000. (R. 2615; 2617)

      C.     Evidence Related to Pauline

      Pauline testified that she was born in October 1984 and grew up in Oak

Park, Illinois with Jane. (R. 2288-89) Pauline and Jane became friends in middle

school. (R. 2289) Pauline met the Defendant through Jane when she was 14 years.

(R. 2289) Pauline explained that when she was 14 or 15 years old, she discovered

Jane and the Defendant in the "log cabin" room; Jane was naked. (R. 2292)

      Pauline testified that she had her first sexual encounter with the Defendant

when she was 14. (R. 2295) She began having sexual encounters with both the

Defendant and Jane which included oral sex. (R. 2296-97) Pauline eventually began

having sexual intercourse with the Defendant when she was around 15 or 16. (R.

2297) When Jane discovered Pauline was having a separate sexual relationship

with Defendant, it became very problematic for their friendship. (R. 2306)

      Pauline admitted that she continued to have a sexual relationship with the

Defendant until she was grown and was out of college. (R. 2316) Pauline did not

report to any authorities that she had a sexual relationship with the Defendant

when she was a minor until 2019.

      The government presented lengthy excerpts of the video recordings depicting

Defendant's sexual conduct with Jane on three separate occasions. Much of the

government's case centered on the Defendants' alleged efforts to obstruct the state

court prosecution of Defendant in connection with one of the videos depicting his




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sexual conduct with Jane in 2008. The jury acquitted all Defendants of the

obstruction of justice count and all counts related to the receipt of child

pornography. The jury also acquitted Defendant of two inducement counts related

to Tracy and Brittany.

      The jury returned a verdict of guilty against the Defendant in connection

with the child pornography counts involving Jane (counts one through three), the

inducement count as to Jane (count nine), and two additional inducement counts in

connection with Nia and Pauline (counts ten and twelve).

      Defendant's post-trial motions were subsequently denied. [Dkt. No. 416] The

District Court judge sentenced the Defendant to 240 months' imprisonment, an

above-guidelines sentence. (Sent. R. 70) The District Court vaguely referenced

Defendant's obstruction and current sentencing guidelines when imposing the above

guidelines sentence. (Sent. R. 69-70) With the exception of one year, the sentence

was ordered to be served concurrent to Defendants' 30-year sentence imposed in a

separate prosecution in the Eastern District of New York ("EDNY"). (Sent. R. 70)

      This appeal follows.




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                           SUMMARY OF ARGUMENT

      Defendant Kelly was convicted of three separate counts of 18 U.S.C. §

2251(a), stemming from the creation of three videos depicting sexual conduct with

Jane who testified that she was 14 years old at the time the videos were created.

Defendant was also convicted of violating 18 U.S.C. § 2422(b) as to Jane with whom

he had a romantic relationship that lasted roughly 12 years and a friendship that

endured until Defendant was indicted in 2019.

      The jury returned two additional guilty verdicts for violations of 18 U.S.C. §

2422(b) as to Nia and Pauline. Nia testified at trial that Defendant fondled her in a

hallway at his studio on a single occasion when he was 29 years old and she was

either 15 or 16 years old. Nia stated that the encounter occurred the summer of

1996 but she could not state precisely when. For her part, Pauline testified that she

began engaging in sexual conduct with Defendant when she was 15 years old. The

prohibited sexual relationship endured long after Pauline became an adult and she

considered Defendant her boyfriend.

      Defendant was acquitted of all remaining counts of the superseding

indictment, including an obstruction of justice charge claiming that Defendant

obstructed his 2008 state-court prosecution for the production of child pornography

involving Jane. Indeed, Government Exhibit 1 was the same video that formed the

basis of Defendant's state-court charges in 2008 for which he was acquitted.

      Defendant seeks reversal of his convictions on the grounds that the charges

for child sexual exploitation and inducement were time barred. Specifically,




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Defendant maintains that the 2003 amendment that extended the statute of

limitations for conduct involving sexual abuse was inapplicable to the charged

offenses that occurred in the 1990s, because Congress only intended it to apply

prospectively. Thus, the statute of limitations for the charges on which Defendant

was convicted expired no later than 2009 when Nia, Pauline, and Jane all turned 25

years old.

      Alternatively, Defendant seeks a new trial on the inducement counts related

to Nia and Pauline where the District Court abused its discretion when it denied

Defendant's motion to sever those counts from the child pornography counts related

to Jane. Because the evidence in connection with the child pornography counts

related only to Jane and was substantially stronger than the evidence supporting

the inducement counts related to Nia and Pauline, the inducement counts should

have been severed to afford the Defendant a fair opportunity to defend those claims.

There can be little question that the jury was unduly influenced by the child

pornography evidence that otherwise would have been inadmissible if the

inducement counts were severed.

      Lastly, Defendant's 240-month above-guidelines sentence was procedurally

and substantively improper. The District Court failed to identify the basis on which

he upwardly departed 72 months from the applicable Guidelines range of 135 to 168

months except to suggest that it was based on acquitted conduct and the fact that

Defendant's crimes would be punished more severely under the current guidelines.

Because the District Court failed to state a definitive basis for its significant




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upward variance and violated the Ex Post Facto Clause by subjecting Defendant to

current Federal Sentencing Guidelines rather than the applicable 1997 Guidelines,

Defendant is entitled to a new sentencing hearing.

                                    ARGUMENT

I.    Defendant's Convictions for Sexual Exploitation and Inducement of

      a Child Must Be Reversed Where the Charges Were Brought Outside

      the Applicable Statute of Limitations.

      Because the statute of limitations on the counts for which Defendant was

convicted, namely the child pornography and inducement counts, expired no later

than 2009, they were time barred. Defendant moved pretrial to dismiss his

indictment on statute of limitations grounds. Fed. R. Crim. P. 12(b)(1) & (b)(1)-(2)

advisory committee note. The district court denied Defendant's pretrial motion to

dismiss. This Court reviews the legal issue de novo. United States v. O'Brien, 953 F.

3d 449, 454 (7th Cir. 2020).

      Federal law imposes a five-year limitations period for most non-capital

offenses. 18 U.S.C. § 3282(a). Over the years, Congress has provided a longer

limitations period for “offense[s] involving the sexual or physical abuse, or

kidnapping” of a minor. 18 U.S.C. § 3283. At the time Defendant committed the

conduct for which he was charged and convicted, namely the child pornography

counts (counts one through three) and the inducement counts (counts nine, ten, and

twelve), section 3283 provided as follows:

      No statute of limitations that would otherwise preclude prosecution for
      an offense involving the sexual or physical abuse of a child under the



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       age of 18 years shall preclude such prosecution before the child reaches
       the age of 25 years. 18 U.S.C.§ 3283 (1994)

Consistent with the foregoing provision, at the time of the charged conduct, the

statute of limitations for offenses involving sexual abuse were extended until the

victim/minor reached 25 years old. Thus, section 3283 extended the five-year

limitations period for the conduct alleged in counts one through three and nine of

the superseding indictment until September 2009 when Jane reached her 25th

birthday. The statute of limitations for count ten was extended until 2005 when Nia

turned 25 years old, and the statute of limitations for count twelve was extended

until October 2009 when Pauline turned 25 years old. Defendant was not charged

until more than a decade after the expiration of the statute of limitations under the

applicable law at the time of the alleged conduct.

       Unless subsequent amendments to section 3283 apply retroactively in this

case, Defendants' convictions must be vacated and dismissed as time barred. In

2003, Congress amended the statute, extending the statute of limitations through

the life of a minor. 18 U.S.C. § 3283 (2003).2 Congress did not express an intent for

the 2003 amendment to apply retroactively. Consistent with the well-established

presumption against retroactive legislation, the 2003 amendment is inapplicable to

the charged conduct as is any subsequent amendments to section 3283. See United

States v. Diehl, 775 F. 3d 714, 720 (5th Cir. 2015) (applying the version of 18 U.S.C.




2
  Congress amended the statute again in 2006 to its current version which provides a
limitations period for the life of the victim or 10 years after the offense, whichever is longer.
18 U.S.C. § 3283.


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§ 3283 in effect at the time of the defendant’s offense rather than the amended

version in effect at the time of the indictment).

      It is axiomatic that “criminal limitations statutes are ‘to be liberally

interpreted in favor of repose,’” Toussie v. United States, 397 U.S. 112, 115 (1970).

“[R]etroactivity is not favored in the law.” Velásquez-Garcia v. Holder, 760 F. 3d

571, 579 (7th Cir. 2014) quoting Bowen v. Georgetown Univ. Hosp., 488 U.S. 204,

208 (1988). The Supreme Court has explained that this aversion to retroactive

rulemaking is deeply rooted in our jurisprudence, and embodies a legal doctrine

centuries older than our Republic. Elementary considerations of fairness dictate

that individuals should have an opportunity to know what the law is and to conform

their conduct accordingly; settled expectations should not be lightly disrupted. For

that reason, the principle that the legal effect of conduct should ordinarily be

assessed under the law that existed when the conduct took place has timeless and

universal human appeal. Landgraf v. USI Film Products, 511 U.S. 244, 265

(1994). With these principles in mind, the District Court erred when it retroactively

applied the 2003 (or 2006) versions of section 3283 and denied Defendant's motion

to dismiss on statute of limitations grounds.

      The United States Supreme Court in Landgraf set forth a framework for

determining whether a federal statute of limitations applies to past conduct:

      [T]he court’s first task is to determine whether Congress has expressly
      prescribed the statute’s proper reach. If Congress has done so, of
      course, there is no need to resort to judicial default rules. When,
      however, the statute contains no such express command, the court
      must determine whether the new statute would have retroactive effect,
      i.e., whether it would impair rights a party possessed when he



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        acted, increase a party’s liability for past conduct, or impose new
        duties with respect to transactions already completed. If the statute
        would operate retroactively, our traditional presumption teaches that
        it does not govern absent clear congressional intent favoring such a
        result. Id. at 280.

Thus, under Landgraf, if Congress has expressly prescribed that a statute applies

retroactively or will not apply retroactively, the inquiry ends. If the statute is silent

on the issue, courts proceed to the second step of the Landgraf analysis and

determine whether the new statute would have retroactive effects. Id.

        Here, the 2003 amendment of section 3283 contains no language expressly

prescribing retroactive application of the amendment. Although the statute does not

expressly provide that it may only apply prospectively, it employs language that

points toward prospective application. The section twice uses forward-looking modal

verbs: "would" and "shall." 18 U.S.C. § 3283 ("[n]o statute of limitations that would

otherwise preclude prosecution for an offense involving the sexual or physical

abuse, or kidnaping, of a child under the age of 18 years shall preclude . . ."); See

Appalachian Power Co. v. E.P.A, 249 F. 3d 1032, 1057 (D.C. 2001) (characterizing

the phrase "would emit" as a future conditional phrase."); Salahuddin v. Mean, 174

F. 3d 271, 275 (2d Cir. 1999) ("[t]here is no doubt that "shall" is an imperative, but

it is equally clear that it is an imperative that speaks to future conduct."); Martin v.

Hunter's Lessee, 14 U.S. 304, 314 (1816) ("[t]he word shall, is a sign of the future

tense . . .").

        The Legislative history of the statute further supports Defendant's contention

that Congress used prospective language in the statute to evince its intent that the




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statute apply prospectively and not retroactively. Critically, Congress considered

and rejected language that expressly prescribed retroactive effect, showing its

intent that the amendment only apply prospectively. In fact, the House of

Representatives version of the bill provided for the complete elimination of a statute

of limitations and included an express retroactivity provision, declaring "the

amendments made by this section shall apply to the prosecution of any offense

committed before, on, or after the date of enactment of this section." Child

Abduction Prevention Act, H.R. 1104, 108th Cong. § 202 (2003). The Senate version

contained no retroactivity provision. PROJECT Act, S. 151, 108th Cong. When the

House and Senate conferenced to resolve differences between the bills, the

retroactivity provision was omitted. Senator Leahy, one of the bill’s original co-

sponsors and a former chair of the Senate Judiciary Committee, stated on the

Senate floor, the omission was intentional: “I am pleased that the conference agreed

to drop language from the original House-passed bill that would have extended the

limitations period retroactively.” Senator Leahy, Amber Legislation, Cong. Rec.

149:50, S5147 (2003).

      The legislative history of the bill expresses Congress’s intent that the

amendment apply prospectively. See Martin v. Hadix, 527 U.S. 343, 355-57 (1999)

(examining “structure and legislative history” as part of first Landgraf step); see

also, Food and Food & Drug Admin. v. Brown & Williamson Tobacco Corp., 529

U.S. 120, 144 (2000); Lattab v. Ashcroft, 384 F. 3d 8, 14 (1st Cir. 2004) (“our inquiry

is not limited to the statutory text but may include an examination of standard




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ensigns of statutory construction, such as the statute’s truck and legislative

history.”) In sum, Congress affirmatively rejected the proposed retroactive

application provision, indicating its intent that the statute apply prospectively.

      Even if this Court concludes that Congress’s intent is not express, retroactive

application of the 2003 amendment fails to pass the second prong of the Landgraf

test. The United States Supreme Court held in Stogner v. California, 539 U.S. 607,

618 (2003) that retroactive applications of extended statutes of limitations to revive

time-barred claims violate the Ex Post Facto Clause. The District Court held that

the 2003 (and 2006) amendments did not revive time-barred claims in this case but

rather extended the limitations period for prosecuting those offenses before the

limitations period expired. Admittedly, this Court, relying on Stogner, has held in

different circumstances that extending a limitations period before a prosecution is

time-barred does not run afoul of the Ex Post Facto Clause. See, United States v.

Gibson, 490 F. 3d 604, 609 (7th Cir. 2007).

      However, Defendant maintains that an analysis of the retroactivity of a

criminal statute of limitations under the second step must recognize the principle

that unlike civil statutes of limitations, “criminal limitations are to be liberally

interpreted in favor of repose.” Toussie, 397 U.S. at 115; see also, United States v.

Gentile, 235 F. Supp. 3d 649, 655 (D.N.J. 2017) (observing that if Landgraf and

Toussie “are read in conjunction,” courts “must interpret the statute of limitations

in a manner favoring repose for Defendant.") As the First Circuit acknowledged,

Toussie “potentially alters the second step in the Landgraf approach” in criminal




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cases. United States v. Miller, 911 F. 3d 638, 645 (1st Cir. 2018) (evaluating 2003

amendment in adjudicating ineffective assistance of counsel claim). “In other words,

when Congress has sounded an uncertain trumpet, a court ought to refrain from

applying an enlarged criminal statute of limitations retrospectively.” Id. As

discussed, supra, Congress sounded an uncertain trumpet regarding the

retroactivity of the 2003 amendment when it affirmatively removed a retroactivity

provision from the bill.

      In light of Toussie, this Court should reject a retroactive application of the

2003 amendment even if it is not the equivalent of an Ex Post Facto violation

because it runs afoul of familiar considerations of fair notice, reasonable reliance,

and settled expectations. Put differently, Defendant urges this Court to read the

second step of Landgraf as providing broader protections for criminal defendants

than the Ex Post Facto Clause. Statutes of limitations “applicable to criminal

prosecutions are designed principally to protect individuals from having to defend

themselves against charges supported by facts that are remote in time." United

States v. Rivera-Ventura, 72 F. 3d 277, 281 (2d Cir. 1995). That concern was acute

in this case where the government sought to rely on the retroactive extension of

criminal statute of limitations to prosecute a case based on conduct that is more

than two decades old. Retroactive application of the 2003 amendment not only flies

in the face of congressional intent; it violates notions of fundamental fairness.

      In sum, section 3283 by its language and its legislative history was intended

to apply prospectively. The inquiry ends there. But even if this Court examined the




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question under step two of the Landgraf the analysis, it should decide against

retroactive application of the amendment. Accordingly, this Court should vacate the

Defendant's convictions as time barred.

II.   The Trial Court Abused Its Discretion When It Denied Defendant's

      Motion to Sever the Inducement Counts (Counts Ten through

      Thirteen) from the Child Pornography Counts Related to Jane

      (Counts One through Three).

      Defendant suffered unquantifiable prejudice by the joinder of the child

pornography counts related to Jane with various inducement counts related to other

minors. Because the government's evidence in connection with charges related to

Jane was significantly stronger than those connected to Nia and Pauline, the

District Court erred when it refused to sever the non-Jane inducement counts from

the rest of the indictment. This Court should vacate Defendant's convictions for

violations of 18 U.S.C. § 2422(b) as to Nia and Pauline and remand for a new trial

on those counts alone.

      This Court reviews a District Court's decision to deny a motion to sever the

counts of an indictment for abuse of discretion. United States v. Smith, 308 F. 3d

726, 736 (7th Cir. 2002).

      Federal Rule of Criminal Procedure 8 allows for joinder of counts

where offenses are, “of the same or similar character, or are based on the same act

or transaction, or are connected with or constitute parts of a common scheme or

plan.” However, Rule 14 “Relief of Prejudicial Joinder,” provides for severance in




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cases of “substantial prejudice.” See United States v. Werner (2d Cir. 1980) 620 F.2d

922, 928. Rule 14 states:

      (a) Relief. If the joinder of offenses or defendants in an indictment, an
      information, or a consolidation for trial appears to prejudice a
      defendant or the government, the court may order separate trials of
      counts, sever the defendants’ trials, or provide any other relief
      that justice requires."

      Courts have recognized that substantial prejudice results from joining

charges that are supported by relatively strong evidence with charges supported by

much weaker evidence. United States v. Alverado, 1994 U.S. Dist. LEXIS 17062, *12

(S.D.N.Y 1994). See, e.g., United States v. Foutz, 540 F.2d 733, 738 (4th Cir. 1976)

(where difference in the strength of two cases was great, "we cannot presume that

the jury adhered to limiting instructions and properly 'segregate[d] [the] evidence

into separate intellectual boxes'" (citation omitted)); United States v.

Ragghianti, 527 F.2d 586 (9th Cir. 1975) (reversing trial court's determination that

severance was not required where there was strong evidence of one robbery and

weak evidence of another); Gregory v. United States, 125 U.S. App. D.C. 140, 369

F.2d 185, 189 (D.C. Cir. 1966) (similar), cert. denied, 396 U.S. 865, 24 L. Ed. 2d 119,

90 S. Ct. 143 (1969).

      In this case, the child pornography counts (counts one through three) of the

indictment were supported by video-recorded evidence. Video-recorded evidence

reflecting the prohibited sexual contact with Jane is dramatically stronger evidence

that than the 25-year-old testimonial evidence of Nia and Pauline. Indeed, as to

Pauline, the question of when her sexual relationship with Defendant commenced




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was a hotly contested issue. Pauline testified that she began having sexual relations

with the Defendant when she was under 17 years of age. She had previously denied

any sexual relations with the Defendant as a minor, including under oath, and only

reported a sexual relationship with the Defendant as a minor in 2019. Pauline also

testified on direct examination that she recalled drinking a liquor known as

Hpnotiq with the Defendant during the period of time when she was a minor and

engaged in sexual activity with him. (R. 2305) But Defendant presented evidence

that Hpnotiq was not available to the market until Pauline was 17 years of age,

belying her claim that she began sexual activity with the Defendant when she was

underage. (R. 3611) Notably, there was no video evidence that reflected Pauline's

sexual activities with the Defendant and she claimed to never have seen any such

evidence. The point here is that the evidence related to Pauline and Nia turned

almost entirely on 25-year old testimony, largely uncorroborated rather than video

evidence of sexually explicit conduct with a minor.

      There can be little question that the jury's assessment of the evidence as to

Nia and Pauline was greatly influenced by the child pornography evidence as to

Jane. Defendant had a little chance of persuading a jury that the government failed

to meet its burden in connection with charges related to Nia and Pauline where any

doubts the jury may have harbored would have pushed aside in light of the

dramatically stronger evidence on the counts related to Jane.

      Similarly, substantial prejudice can result where a Defendant has important

testimony to give on one case and a strong need to refrain from testifying on the




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other. Cross v. United States, 335 F. 2d 987 (D.C. Cir. 1964). United States v.

Archer, 843 F.2d 1019, 1022 (7th Cir. 1988); Baker v. United States, 401 F.2d 958,

977 (D.C. Cir. 1968); United States v. Ely, 910 F.2d 455, 457 (7th Cir. 1990).

      In Baker, the D.C. Circuit observed:

      Prejudice may develop when an accused wishes to testify on one but
      not the other of two joined offenses which are clearly distinct in time,
      place and evidence. His decision whether to testify will reflect a
      balancing of several factors with respect to each count: the evidence
      against him, the availability of defense evidence other than his
      testimony, the plausibility and substantiality of his testimony, the
      possible effects of demeanor, impeachment, and cross-examination.
      But if the two charges are joined for trial, it is not possible for him to
      weigh these factors separately as to each count. If he testifies on one
      count, he runs the risk that any adverse effects will influence the jury's
      consideration of the other count. Thus, he bears the risk on both
      counts, although he may benefit on only one. Moreover, a defendant's
      silence on one count would be damaging in the face of his express
      denial of the other. Thus, he may be coerced into testifying on the
      count upon which he wished to remain silent. It is not necessary to
      decide whether this invades his constitutional right to remain silent,
      since we think it constitutes prejudice within the meaning of Rule 14.
      Baker v. United States, 401 F. 2d 958, 976 (D.C. Cir. 1968). See also,
      Archer, 843 F. 2d at 1022 (recognizing that sometimes circumstances
      can coerce a defendant into testifying on a count upon which he wishes
      to remain silent.).

      In light of the foregoing, the District Court erred when it denied Defendant's

motion to sever the inducements counts related to Nia and Pauline. As Defendant

set out in his motion to sever, he had important testimony to give in connection with

the inducement counts related to Nia and Pauline, but had no choice to forego

giving that testimony in order to maintain his right against self-incrimination in

connection with other counts in the indictment. Indeed, this is precisely the scenario

that justified severance because Defendant would have been coerced into testifying




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on a count upon wish he wished to remain silent in order to give testimony

concerning counts ten and twelve. Joinder of the counts related to Jane and the

counts related to Nia and Pauline served to prejudice the Defendant.

       Severance was particularly justified here where the inducements counts

were only similar to the child pornography counts as to Jane in that they both

involved sexually explicit conduct with minors. United States v. Coleman, 22 F. 3d

126, 134 (7th Cir. 1994) overruled on other grounds. The inducement counts related

to Nia and Pauline are of a similar character to the counts involving Jane but they

involve different minors, different acts, and largely different evidence. But because

of the similar nature to the counts involving Jane, the risk of prejudice was acute.

Because the jury concluded that Defendant was guilty of the child pornography for

which there was significantly stronger evidence, it likely did not bother to consider

whether the government satisfied its burden in connection with the inducement

counts related to Nia and Pauline. The District Court should have severed the

inducement counts from the child pornography counts to afford the Defendant a fair

shot at defending those claims which turned on 25-year old testimony that

Defendant sought to challenge.




III.   Defendant's 240-Month Above-Guidelines Sentence Was Both

       Procedurally and Substantively Improper.




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      Defendant was sentenced to 240 months' imprisonment, a sentence that was

significantly above the applicable guidelines range calculated at 135 to 168 months.

After correctly calculating the guidelines range, the District Court sentenced

Defendant to a sentence that was four offense levels above the applicable guidelines

range. The District Court's stated basis for applying a significant upward variance

was ambiguous and unjustified in any event. Indeed, the District Court's sentence

appeared to be motivated by acquitted conduct and consideration of the current

Federal Sentencing Guidelines which generally reflect greater punishment in child

exploitation cases but which were not applicable to Defendant's 1990s conduct.

Accordingly, this Court should vacate the Defendant's sentence and remand for

resentencing with directions that the District Court sentence the Defendant to a

Guidelines sentence or expressly identify the basis upon which an above-guidelines

sentence was appropriate.

      A reviewing court reviews de novo a procedural challenge to a defendant's

challenge and the substantive reasonableness of the sentence for abuse of

discretion. United States v. Ballard, 950 F. 3d 434, 436 (7th Cir. 2020).

      “[A] district court should begin all sentencing proceedings by correctly

calculating the applicable Guidelines range,” which “should be the starting point

and the initial benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007). After a

proper calculation, a sentencing judge considers the seven factors set forth in 18

U.S.C. § 3553(a): “the nature and circumstances of the offense and the history and

characteristics of the defendant;” the four legitimate purposes of sentencing, as set




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forth below; “the kinds of sentences available;” the applicable Guidelines range

itself; and relevant policy statement by the Sentencing Commission; “the need to

avoid unwarranted sentence disparities among defendants;” and “the need to

provide restitution to any victims.” 18 U.S.C. § 3553 (a)(1)-(7); see also, Gall, 552

U.S. at 50, n.6. The statute directs judges to “impose a sentence sufficient, but not

greater than necessary, to comply with the purposes” of sentencing.

18 U.S.C. § 3553 (a)(2).

       Defendant largely agrees with the District Court's sentencing analysis but

objects to the court's above-guidelines sentence that appears to have been based on

acquitted conduct and current Sentencing Guidelines rather than the applicable

Guidelines, although the court was not entirely clear on his basis for imposing an

above-guidelines sentence. The District Court concluded that the applicable

combined offense level was 32 which resulted in a Guidelines range of between 135

and 168 months' imprisonment under the 1997 Federal Sentencing Guidelines.3

(Supp. R. 18) However, when imposing a 240-month sentence, the District Court did

not expressly state his basis for an above-guidelines sentence, instead vaguely

suggesting a basis for an upward variance. The Court stated:

       So, anyway, as far as if I was going to sentence Mr. -- I would probably
       have -- considering all the factors that I've outlined before, I would
       have probably had a variance upwards from the top end of the
       Guidelines, which was 168. Again, I think there was some evidence,
       justification for the obstruction and some -- because of the increase in
       the current Guidelines, so that in all probability, if I was sentence Mr.
       Kelly as. result of -- I would probably give him a sentence in the

3
 The government conceded that the 1997 Guidelines were the applicable guidelines in this case.
Probation suggested application of the 2000 Federal Sentencing Guidelines. Defendant's Guidelines
range did not change whether the 1997 or 2000 Guidelines were applied.


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       neighborhood of 240 months. So, I will -- it seems to me that under all
       the facts and circumstances, that is a valid sentence, the 240 months.
       (Sent. R. 69-70)

       This Court has acknowledged that because the Guidelines are advisory,

district judges have discretion to sentence a defendant outside the calculated

Guidelines range. Ballard, 950 F. 3d at 436. This holding is consistent with §5K2.0

of the 1997 Federal Sentencing Guidelines which observed that "the sentencing

court may impose a sentence outside the range established by the applicable

guideline, if the court finds 'that there exists an aggravating or mitigating

circumstance of a kind, or to a degree, not adequately taken into consideration by

the Sentencing Commission in formulating the guidelines that should result in a

sentence from that described.'"

       However, when a sentencing court does impose a sentence that varies from

the applicable guidelines range, it "must consider the extent of the deviation and

ensure that the justification is sufficiently compelling to support the degree of

variance." Ballard, 950 F. 3d at 436 citing United States v. Miller, 601 F. 3d 734,

739 (7th Cir. 2010). The judge's explanation of the deviation must "articulate[] and

justif[y] the magnitude of the variance." Id. citing United States v. Conaway, 713 F.

3d 897, 904 (7th Cir. 2013). It follows that more significant justification is necessary

for more substantial departures. Id. citing United States v. Castillo, 695 F. 3d 672,

673 (7th Cir. 2012). Failing to adequately explain a chosen sentence, including an

explanation for deviation from the Guidelines range, is a procedural error. Id. at

437.




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      In this case, the District Court's 240-month sentence is both procedurally and

substantively improper. As the record reflects, the District Court failed to clearly

articulate on what basis he sentenced the Defendant to a term of imprisonment that

exceeded the maximum guidelines sentence by a whopping 72 months. The District

Court hinted at the grounds for its above-guidelines sentence when it vaguely

referenced obstruction and current Guidelines, but the record is far from clear.

      Moreover, the grounds that the District Court referenced as his basis for a

20-year sentence appears to be based, at least in part, on the Court's view that the

Defendant obstructed justice, presumably in connection with conduct related to his

state-court conviction for which he was acquitted. While obstruction might permit

an enhancement of the offense level, the obstruction enhancement relates to

obstruction in the instant offense - not for an obstruction charge for which

Defendant was acquitted. USSG § 3C1.1 There was no claim by any party that

Defendant attempted in any way to obstruct this prosecution.

      Defendant recognizes that this Court and the United States Supreme Court

has held that acquitted conduct may be considered by a sentencing court so long as

that conduct has been proven by a preponderance of the evidence. See United States

v. Holton, 873 F. 3d 589, 592 (7th Cir. 2017) citing United States v. Watts, 519 U.S.

148, 157 (1997). But see, United States v. Brown, 892 F.3d 385, 408 (D.C. Cir

2018) (Millett J., concurring) (condemning the use of acquitted conduct as a basis

for increasing the length of imprisonment); United States v. Canania, 52 F.3d 764,

776 (8th Cir. 2008) (Bright J., concurring) (opining that the use of acquitted conduct




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in sentencing violates the Due Process Clause of the Fifth Amendment and

undermines the principle of fair notice). In this case, however, the District Court

merely hinted at its right to make such a finding. (Sent. R. 63) The District Court

never expressly and unambiguously found that by a preponderance of the evidence

standard, Defendant had obstructed his 2008 prosecution as the government

charged in its indictment nor did it identify what facts it credited in making the

finding that Defendant obstructed justice by the lower standard. Indeed, the

District Court made no mention of any conduct on the part of the Defendant that

would have allowed it to conclude that Defendant obstructed his 2008 criminal

prosecution by the lower standard of proof.

      Rather, the District Court mentioned that Defendant's" minions" had started

a rather "Keystone Cop" kind of operation to get tapes back, but this conduct, even

if credited under a lower standard of proof, was not evidence of obstructing

Defendant's 2008 state-court prosecution based on a tape that was already in the

State's possession. The District Court seemed to be referencing evidence related to

conspiracy to receive child pornography (of which the Defendants were also

acquitted) - not the obstruction of justice charge. The record is simply unclear as it

relates to what facts the District Court relied on when concluding that an upward

variance based on "obstruction" was justified. Assuming that acquitted conduct may

be used to justify an upward variance without violating the Due Process clause as

this Court has held, a sentencing court must, at a minimum, make such a finding

and explain how it reached the conclusion that the Defendant had committed the




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acquitted conduct by the lower standard of proof. The District Court judge failed to

do so here.

      Even more problematic, the District Court violated the Ex Post Facto Clause

when it sentenced Defendant to an above-guidelines sentence simply because the

current Sentencing Guidelines generally call for higher offenses levels than did the

applicable 1997 Sentencing Guidelines. Peugh v. United States, 569 U.S. 530 (2013).

The United States Supreme Court has held that it is an ex post facto violation when

a defendant is sentenced under Guidelines promulgated after he committed his

criminal acts and the new version provides a higher applicable Guidelines

sentencing range than the version in place at the time of the offense. Id. at 533.

      It is true that this Court has held that a District Court at sentencing: (1) may

interpret the Commission's later addition of an aggravating element as a sentencing

factor as evidence that a previous version of the Guidelines did not adequately

consider that factor in the sentencing scheme; and (2) may also consider later

amendments for determining how much of a departure is warranted for the

aggravated conduct in question. United States v. Coe, 220 F. 3d 573, 578 (7th Cir.

2000). However, Coe does not stand for the proposition that the District Court may

upwardly depart from the applicable sentencing range by merely pointing that had

the Defendant committed his crimes today, his offense level would be greater.

      Unlike Coe, the District Court here did not identify any recent amendment or

specific aggravating element codified in the current Guidelines (but not the 1997

Guidelines) that justified a significant upward variance. Further, the District Court




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did not identify any aggravating elements that were omitted as a sentencing factor

in the applicable 1997 Guidelines but exist in recent iterations of the Guidelines.

Rather, the court simply observed that the offenses for which Defendant was

convicted now carry a higher base offense level than they did in 1997. Imposing an

above-guidelines range for no reason other than the current Guidelines are

generally more punitive is a textbook ex post facto violation.

      In sum, Defendant's 240-month above-guidelines sentence was procedurally

improper where the District Court failed to identify the grounds on which he was

imposing a sentence 72 months higher than the maximum guidelines sentence. To

the extent the District Court relied on acquitted conduct to justify that upward

variance, it failed to state unambiguously that it had found that Defendant

committed certain acquitted conduct by a preponderance of the evidence.

Furthermore, Defendant's sentence runs afoul of Ex Post Facto Clause where the

Court justified its upward departure sentence, because Defendant would be

punished more harshly today for the same conduct than what the 1997 Guidelines

demand. Accordingly, Defendant's sentence must be vacated and the matter

remanded for a new sentencing hearing where Defendant is sentenced to a

Guidelines sentence or where the Court specifically identifies a basis for upwardly

departing by four offense levels.

                                    CONCLUSION

      For the foregoing reasons, Defendant's convictions must be reversed.

Alternatively, Defendant's convictions at to counts ten and twelve must be vacated




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and remanded for a new trial. Lastly, Defendant is entitled to a new sentencing

hearing.

                                                   Respectfully Submitted,

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  CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a)(7), FRAP RULE
                        32(g) and CR 32(c)
      The undersigned, counsel of record for the Defendant-Appellant, Robert S.

Kelly, furnishes the following in compliance with F.R.A.P. Rule 32(a)(7):


I hereby certify that this brief conforms to the rules contained in F.R.A.P. Rule

32(a)(7) for a brief produced with a proportionally spaced font.


The length of this brief is 7,629 words.


Dated: August 2, 2023                                Respectfully Submitted,

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           CERTIFICATE OF COMPLIANCE WITH CIR. R. 30(a)&(b)


      I hereby certify that all of the materials required by parts (a) and (b) of

Circuit Rule 30 have been included.


Dated: August 2, 2023                                 Respectfully Submitted,

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                           CERIFICATE OF SERVICE


      The undersigned hereby certifies that the foregoing Brief of Defendant-

Appellant Robert Sylvester Kelly, and the annexed Required Appendix was filed

using the Court’s CM/ECF system. All participants in the case are registered

CM/ECF users and will be served electronically via that system.


Dated: August 2, 2023                              Respectfully Submitted,

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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                 Case No. 19 CR 567
           v.
                                             Judge Harry D. Leinenweber
ROBERT SYLVESTER KELLY, a/k/a
“R. Kelly,” DERREL McDavid,
and MILTON BROWN, a/k/a “June
Brown”,

                     Defendants.


                                   ORDER
     Before the Court is Defendants’ Motion to Dismiss Counts One

through Four and Counts Six through Thirteen of the Superseding

Indictment (Dkt. No. 189). Also before the Court is Defendant

Kelly’s Motion to Sever (Dkt. No. 196). For the reasons stated

herein, the Motions are denied.

                               STATEMENT
                           A. Motion to Dismiss

     On February 13, 2020, the Government filed a Superseding

Indictment      charging   Defendant     Kelly     with    thirteen     counts,

Defendant McDavid with four counts, and Defendant Brown with one

count. (Dkt. No. 93.)          Defendant McDavid previously moved to

dismiss Count Five. (Dkt. No. 71.)         This Court denied that Motion.

(Dkt. No. 89). On May 2, 2022, Defendants filed another Motion to

                                  APPENDIX 1
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Dismiss, arguing that all counts, except Count Five, should be

dismissed. (Dkt. No. 189). Defendants argue that the counts are

untimely and barred by the statute of limitations.

                       1. Counts One Through Four

     Counts One through Four of the Indictment charge Defendant

Kelly with producing four videos of a minor engaged in sexually

explicit conduct in violation of 18 U.S.C. §2251(a). (Indict. at

1—4, Dkt. No. 93.) The indictment states that the videos were

produced between 1998 and 1999. (Id.) At the time of the charged

conduct, the statute of limitations expired once the minor reached

the age of 25. 18 U.S.C. § 3283 (1994) (amended 2006). Kelly argues

that, as a result, these counts are time barred. In response, the

Government argues that the limitations period was extended when

the statute was amended, and the extended date should apply.

     18 U.S.C. § 3283 was amended in 2003, extending the statute

of limitations to the life of the minor. 18 U.S.C. § 3283 (2003)

(amended 2006). The statute was amended again in 2006, extending

the statute of limitations to the life of the child or ten years

after the offense, whichever is longer. 18 U.S.C. § 3283. If the

operative limitations period is the one set out in the 1994 version

of the statute, Counts One through Four expired in 2009. If the

amended statute of limitations applies, the Counts are timely

brought.



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                                 APPENDIX 2
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        The Supreme Court has set out a two-step test to decide

whether a federal statute applies to past conduct. Landgraf v. USI

Film Products, 511 U.S. 244, 280 (1994). The first step is to

“determine whether Congress has expressly prescribed the statute's

proper reach.” Id. If the statute’s proper reach is clear, the

inquiry ends there. Id. However, if the statute is silent, the

next step is to determine whether applying it retroactively would

impair a party’s rights. Id. Defendants urge the Court to look to

the legislative history of 18 U.S.C. § 3283 and rule that Congress

expressly     prescribed      that    the     statute     does     not    apply

retroactively. Defendants point to the House version of the bill,

which     contained   an   express     retroactivity       provision.     Child

Abduction Prevention Act, H.R. 1104, 108th Cong. § 202 (2003). The

final version of the bill omitted this provision, and Senator Leahy

confirmed that the omission was intentional. Senator Leahy, Amber

Legislation, Cong. Rec. 149:50, S5147 (2003). Judge Nathan of the

Southern District of New York recently dealt with this precise

issue in the prosecution of Defendant Ghislaine Maxwell. United

States v. Maxwell, 534 F.Supp.3d 299 (S.D.N.Y, 2021). There, Judge

Nathan analyzed 18 U.S.C. § 3283, finding that Congress not only

permitted, but intended, 18 U.S.C. § 3283 to allow prosecutions

for past conduct for which the statute of limitations has not

expired. Id. at 316. The Court agrees with Judge Nathan’s analysis.

With each amendment to 18 U.S.C. § 3283, the statute of limitations

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                                 APPENDIX 3
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increased. In light of the lack of retroactivity provision, but

steadily increasing statutes of limitations, the Court finds that

the statute does not prescribe its proper reach.

      The Court next moves to the second step of the Landgraf test.

The Court finds that applying the current version of 18 U.S.C.

§ 3283 would not impair the Defendants’ rights. In the Seventh

Circuit, “applying procedural statutes . . . which effectively

[enlarge] the limitations period, does not violate the ex post

facto clause so long as the statute is passed before the given

prosecution is barred.” U.S. v. Gibson, 490 F.3d 604, 609 (7th

Cir. 2007) (citing Stogner v. California, 539 U.S. 607 (2003)).

However, in their Motion to Dismiss Defendants “[urge] this Court

to   read    the    second   step    of   Landgraf   as    providing    broader

protections for criminal defendants than the Ex Post Facto clause.”

(Mot. to Dismiss p. 8, Dkt. No. 189) (emphasis in original). The

Court declines to do so. Applying the current version of 18 U.S.C.

§ 3283 does not impair any of the Defendants’ rights because the

statute     was    amended   before    the    original    limitations    period

expired. This Court will not disturb well-settled law to create

new statutory rights where none currently exist. Counts One through

Four are timely.

                        2. Counts Six Through Eight

      Counts Six charges all Defendants with conspiring to receive

child pornography in violation of 18 U.S.C. §2252A (a)(2) and

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(b)(1). (Indict. at 17.) The Indictment states that the conspiracy

took    place   between   2001   and    2007.   (Id.)   Count   Seven   charges

Defendants Kelly and McDavid with receiving two videos of child

pornography, in violation of 18 U.S.C. §2252A (a)(2) and (2). (Id.

at 18.) The Indictment alleges that Kelly and McDavid received

these videos in August 2001. (Id.) Count Eight charges Defendants

Kelly and McDavid with receiving one video of child pornography,

in violation of 18 U.S.C. §2252A (a)(2) and (2). (Id. at 19.) The

Indictment states that Kelly and McDavid received this video in

April 2007. (Id.)

        Defendants argue that Counts Six through Eight are subject to

the general five-year statute of limitations and are now untimely.

18 U.S.C. § 3282 (a) (stating that, unless otherwise provided by

law, the statute of limitations for a non-capital offense is five

years). The Government argues that the Court should apply the

statute of limitations set forth in 18 U.S.C § 3299. According to

18 U.S.C § 3299, there is no statute of limitations for an offense

under chapter 110 of Title 18 of the United States Code. Counts

Six through Eight all charge Defendants with violations of § 2252,

which fall under chapter 110 of Title 18. As such, § 3299 applies

to Counts Six through Eight. § 3299 became effective on July 27,

2006.

        The Court finds that counts Six through Eight are timely.

First, Counts Six and Eight of the indictment both state that the

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conduct in question concluded after 18 U.S.C § 3299 was enacted.

Therefore, 18 U.S.C § 3299 clearly applies, and a prosecution for

these counts can be brought at any time, including in the current

indictment.

     The accused conduct in Count Seven took place before 18 U.S.C

§ 3299 was enacted. The Court applies the Landgraf test to this

Count. In the first step, the Court finds that the text of 18 U.S.C

§ 3299 is silent as to its proper reach. In the second step, the

Court   finds     that   applying     the    statute    would   not   impair   the

Defendants’ rights. In drawing this conclusion, the Court once

again applies Gibson. Gibson, 490 F.3d 604. 18 U.S.C § 3299 was

enacted on July 27, 2006. The parties dispute what statute of

limitation applied to Count Seven during the time of the accused

conduct. The Defendants argue that Count Seven is subject to the

general five-year statute of limitations. 18 U.S.C. § 3282 (a) The

Government argues that the limitations period extended until the

relevant minors turned 25, as specified in 18 U.S.C. § 3283. The

Court notes the dispute is largely irrelevant here. Either way,

Count Seven is timely. Applying the shorter limitations period of

five years, the statute of limitations would have expired in August

2006.   As   18    U.S.C   §   3299    was    enacted    before   the   original

limitations period expired, there is no ex post facto problem,

meaning Defendants’ rights are not infringed. Gibson, 490 F.3d at

609. The Court applies 18 U.S.C § 3299 here; Count Seven is timely.

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                                    APPENDIX 6
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                       3. Counts Nine Through Thirteen

      Counts     Nine    through       Thirteen    of   the   Indictment    charge

Defendant Kelly with knowingly enticing minors to engage in sexual

activity, in violation of 18 U.S.C. § 2422(b). (Indict. at 20—24.)

In   addition,    Counts       Nine,    Ten,     Twelve,   and   Thirteen   charge

Defendant      Kelly    with    aggravated        criminal    sexual   abuse,   in

violation of 720 ILCS 5/12-16(d). (Id. at 20—21, 23—24.) The

Indictment states that the activity occurred between 1996 and 2001.

(a 20—24.) Like with charges One through Four, 18 U.S.C. § 3283

provides the relevant statute of limitations. At the time of the

accused conduct, the limitation period expired when the minor

turned 25 years old. The earliest date at which any minor in the

accused conduct turned 25 was August 2005. As discussed earlier,

18 U.S.C. § 3283 was amended in 2003, extending the limitations

period to the life of the child. Earlier in this order, the Court

analyzed the applicability of the amended version of 18 U.S.C. §

3283 to Counts One through Four of the Indictment. The analysis

for counts Nine through Thirteen is largely the same. Applying the

first step of the Landgraf test, the Court finds that 18 U.S.C. §

3283 does not explicitly prescribe its proper reach. In the second

step of Landgraf, the Court applies Gibson. Defendant Kelly’s

rights are not infringed because 18 U.S.C. § 3283 was twice amended

before the previous limitations periods for Counts Nine through

Thirteen expired. The Court applies the current version of 18

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                                   APPENDIX 7
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U.S.C. § 3283 to Counts Nine through Thirteen. Counts Nine through

Thirteen are timely as well. In sum, Defendants’ Motion to Dismiss

is denied in its entirety.

                              B. Motion to Sever

       Defendant Kelly has also filed a Motion to Sever. (Dkt.

No. 196.)     Kelly     requests    that       Defendant   McDavid   be   tried

separately, and that Counts Ten through Thirteen be severed from

the rest of the Indictment.

       Federal Rule of Criminal Procedure 14 authorizes district

courts to “order separate trials of counts, sever the defendants'

trials, or provide any other relief that justice requires.” FED.

R. CRIM. P. 14. District courts have discretion to grant the relief

they deem proper, whether that is severance, or something less

drastic, such as a limiting instruction. Zafiro v. U.S., 506 U.S.

534,    539   (1993).    In    cases    involving     conflicting    defenses,

severance is not required, even if prejudice to a defendant is

shown. Id. 538-539. A court must only grant severance “if there is

a serious risk that a joint trial would compromise a specific trial

right of one of the defendants or prevent the jury from making a

reliable about judgment about guilt or innocence.” Id. at 539.




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                                   APPENDIX 8
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                      1. Severing Defendant McDavid

     Defendant Kelly argues that Defendant McDavid should be tried

separately because of antagonistic defenses and because one of

McDavid’s lawyers may have a potential conflict of interest.

     In the Motion to Sever, Kelly alleges that both he and McDavid

may present evidence against the other. Kelly alleges that he

intends to present evidence that McDavid controlled the purse of

the operation and pushed Kelly to continue to work to keep the

money flowing. Kelly also alleges that McDavid might be used as a

witness against him. Kelly’s allegations do not provide further

detail. Kelly argues that severance is required because he intends

to show that McDavid had an interest in Kelly continuing to work.

However,   as   the   Government    points    out,   this   evidence    is   not

necessarily antagonistic to, or even inconsistent with, McDavid’s

possible defense. It is entirely possible that McDavid pushed Kelly

to continue working and also conspired with Kelly to conceal his

misconduct.

     As presented, Kelly’s Motion reads as blame shifting. Blame

shifting among co-defendants does not mandate severance. U.S. v.

Plato, 629 F.3d 646, 650 (7th Cir. 2010). Moreover, Kelly does not

specify exactly what evidence he expects to present that will

compromise any of McDavid’s trial rights. Nor does he specify what

evidence he expects McDavid to present that will be used against

him. The Motion does not raise any serious risks of impeding

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                                 APPENDIX 9
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Defendants’ trial rights or that a jury would be prevented from

making a reliable judgment.

      Kelly   next   argues    that    McDavid’s    lawyer,     Vadim   Glozman

(“Glozman”), may have a conflict of interest. Kelly retained a

lawyer named Ed Genson (“Genson”) to represent him in a criminal

case, resulting in Kelly’s acquittal in 2008. (Mot. to Sever ¶

24.) Between 2008 and 2018, Kelly frequently consulted with Genson.

(Id. ¶ 25.)     Glozman was an associate at Genson’s firm from 2014

to 2018. (Id. ¶ 28.) Kelly argues that, through this connection,

Glozman may have privileged information that could be used to

Kelly’s detriment. Glozman denies that he has any privileged

information    about    Kelly.    (6/1/22    Hearing    Tr.   29:15—16,     Dkt.

No. 206). Glozman stated that his only conversation with Kelly,

and the first time he met Kelly, was at Kelly’s indictment hearing

for this case. (Id. 29: 14—15, 30: 23—24). Kelly does not identify

any   privileged       information,     or    any    class     of    privileged

information, that he alleges Glozman accessed. Kelly submitted a

Declaration on his own behalf where he states that he does “not

have a specific memory of ever consulting with Vadim Glozman.”

(Kelly Decl. ¶ 8, Dkt. No. 201). All Kelly offers is that he has

a “distinct memory of [Glozman’s] name as someone who worked with

Mr. Genson.” (Id.)      Kelly has not presented sufficient information

to show that Glozman has an actual conflict of interest. The Court

will not sever McDavid and Kelly’s trials.

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                                 APPENDIX 10
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                      2. Counts Ten Through Thirteen

      Kelly argues that Counts Ten through Thirteen should be

severed from the rest of the Indictment because he will suffer

substantial prejudice otherwise. Severance may be warranted if a

defendant is improperly coerced into testifying about a count on

which he wishes to remain silent. U.S. v. Berg, 713 F.3d 490, 496

(7th Cir. 2013). When a defendant seeks to sever charges because

he wants to testify to some charges, but not others, he must show

that he has a strong need to testify on one count but not the

other. U.S. v. Ervin, 540 F.3d 623, 629 (7th Cir. 2008).

      Kelly alleges that the evidence in support of Counts One

through Three is stronger than the evidence in support of Counts

Ten through Thirteen. In support of his argument, Kelly states

that Counts One through Three are supported by video evidence,

while Counts Ten through Thirteen are supported by testimonial

evidence. Kelly argues that he has “important testimony to give

concerning counts ten through 13 and a need to refrain from

testifying as to counts 1 through 3.” (Mot. to Sever ¶ 38).

      Kelly’s Motion to Sever does not specify exactly how he will

be prejudiced if all the Counts are tried together. Kelly does not

adequately explain his assertion that the evidence in support of

Counts One through Three is stronger than the evidence in support

of   Counts   Ten   through   Thirteen.     Kelly   claims    that   the   video

evidence      is    much   stronger     than    testimonial      evidence      of

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                                 APPENDIX 11
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“questionable     veracity,”     but   fails    to   provide     more   detail.

Further, Kelly’s Motion fails to present evidence showing why he

has a need to testify on only some of the counts. Kelly’s Motion

asserts that severance is warranted but does not provide specific

evidence in support of that assertion. For that reason, the Court

denies Kelly’s Motion to Sever.

                                  CONCLUSION

     For the reasons stated herein, Defendants’ Motion to Dismiss

(Dkt. No. 189) and Kelly’s Motion to Sever (Dkt. No. 196) are

denied.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

Dated: 6/30/2022




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                                 APPENDIX 12
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                               UNITED STATES DISTRICT COURT
                                                         Northern District of Illinois

                                                                        )
              UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                        )
                                v.                                      )
                                                                        )
               ROBERT SYLVESTER KELLY                                          Case Number:             1:19-CR-00567(1)
                                                                        )
                                                                        )      USM Number:              09627-035
                                                                        )
                                                                        )
                                                                        )
                                                                               Jennifer A Bonjean
                                                                        )      Defendant’s Attorney


THE DEFENDANT:
☐ pleaded guilty to count(s)
☐ pleaded nolo contendere to count(s)         which was accepted by the court.
☒ was found guilty on count(s) 1 - 3, 9, 10 and 12 of the superseding indictment after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                  Offense Ended           Count
 18 USC Section 2251(a), 18 USC Section 2251(d) Child Pornongraphy                                    October 2001            1s – 3
 18 USC Section 2422(b) Enticement of a Minor                                                         October 2001            9s, 12s
 18 USC Section 2422(b) Enticement of a Minor                                                         Summer 1996             10s



The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
☒ The defendant has been found not guilty on count(s) 4s - 8s, 11s and 13s of the superseding indictment.
☒ The forfeiture allegation is dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.

                                                                                  February 23, 2023
                                                                                  Date of Imposition of Judgment




                                                                                  _______________________________________________
                                                                                  Signature of Judge
                                                                                  Harry D. Leinenweber, United States District Judge

                                                                                  Date: March 7, 2023




                                                               APPENDIX 13
                          Case: 23-1449               Document: 14              Filed: 08/02/2023          Pages: 77



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ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
Sheet 2 – Imprisonment                                                                                                         Judgment – Page 2 of 8
DEFENDANT: ROBERT SYLVESTER KELLY
CASE NUMBER: 1:19-CR-00567(1)
                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

228 months on 1s – 3s concurrent to all other counts and Docket Number 19 CR 286(S-3)-001 EDNY – Eastern District of New York, 12
months on 1s– 3s to run concurrent to all other counts but consecutive to Docket Number 19 CR 286(S-3)-001 EDNY – Eastern District of
New York.
180 months on 9s and 12 s to run concurrent to all other counts and EDNY Docket Number 19 CR 286.
120 months on 10s to run concurrent to all other counts and EDNY Docket Number 19 CR 286.

☐         The court makes the following recommendations to the Bureau of Prisons:

☒         The defendant is remanded to the custody of the United States Marshal.

☐         The defendant shall surrender to the United States Marshal for this district:

          ☐         at        on

     ☐         as notified by the United States Marshal.

     ☐         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐         before 2:00 pm on

          ☐         as notified by the United States Marshal.

          ☐         as notified by the Probation or Pretrial Services Office.




                                                                   RETURN

I have executed this judgment as follows: _____________________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

Defendant delivered on ___________ to ________________________ at_____________________________, with a certified copy of this
judgment.


                                                                                   __________________________________________
                                                                                   UNITED STATES MARSHAL


                                                                                By ___________________________________________
                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                APPENDIX 14
                        Case: 23-1449    Document: 14         Filed: 08/02/2023    Pages: 77
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ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
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DEFENDANT: ROBERT SYLVESTER KELLY
CASE NUMBER: 1:19-CR-00567(1)

        MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
three (3) years on counts 1s – 3s, 9s, 10s and 12s to run concurrent to each other and to Docket Number 19 CR 286(S-3)-001 EDNY – USDC
Eastern District of New York.



During the period of supervised release:


   1.    You must not commit another federal, state or local crime.
   2.    You must not unlawfully possess a controlled substance.
   3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
         from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
   4.        You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)




                                                               APPENDIX 15
                     Case: 23-1449      Document: 14         Filed: 08/02/2023     Pages: 77
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ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
                                                                                                                         Judgment – Page 4 of 8
DEFENDANT: ROBERT SYLVESTER KELLY
CASE NUMBER: 1:19-CR-00567(1)


                                                          STANDARD CONDITIONS OF
                                                                SUPERVISION
             As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
             are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
             tools needed by probation officers to keep informed report to the court about and bring about improvements in your
             conduct and condition.

             1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72
                   hours of your release from imprisonment unless the probation officer instructs you to report to a different
                   probation office or within a different time frame.
             2. After initially reporting to the probation office, you will receive instructions from the court or the probation
                   officer about how and when you must report to the probation officer, and you must report to the probation
                   officer as instructed.
             3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
                   permission from the court or the probation officer.
             4. You must answer truthfully the questions asked by your probation officer.
             5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about
                   your living arrangements (such as the people you live with), you must notify the probation officer at least IO days
                   before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
                   you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
             6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
                   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
                   view.
             7. You must work full time (at least 30 hours p r week) at a lawful type of employment unless the probation officer
                   excuses you from doing so. If you do not have full-time employment you must try to find full-time employment
                   unless the probation officer· excuses you from doing so. If you plan to change where you work or anything about
                   your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
                   before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
                   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
                   change.
             8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know
                   someone has been convicted of a felony, you must not knowingly communicate or interact with that person
                   without first getting the permission of the probation officer.
             9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
             l 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
                   anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
                   person such as nunchakus or tasers).
             11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                   informant without first getting the permission of the court.
             12. If the probation officer determines based on your criminal record, personal history and characteristics, and the
                   nature and circumstances of your offense, you pose a risk to another person (including an organization), the
                   probation officer, with prior approval of the Court, may require you to notify the person about the risk and you
                   must comply with that instruction. The probation officer may contact the person and confirm that you have
                   notified the person about the risk.
             I 3. You must follow the instructions of the probation officer related to the conditions of supervision.




                                                              APPENDIX 16
                     Case: 23-1449      Document: 14         Filed: 08/02/2023    Pages: 77
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ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
                                                                                                                                                Judgment – Page 5 of 8
DEFENDANT: ROBERT SYLVESTER KELLY
CASE NUMBER: 1:19-CR-00567(1)
                                                            SPECIAL CONDITIONS OF
                                                                 SUPERVISION

  I. The defendant shall comply with any applicable state and/or federal sex offender registration requirements, as instructed by the probation officer, the
  Bureau of Prisons, or any state offender registration agency in state where he resides, works or, or is student.

  2. The defendant shall participate in a mental health treatment program, which may include participation in a treatment program for sexual disorders. as
  approved by the U.S. Probation Department. The defendant shall contribute to the cost of such services rendered and/or any psychotropic medications prescribed
  to the degree he is reasonably able and shall cooperate in securing any applicable third-party payment. The defendant shall disclose all financial information and
  documents to the Probation Department to assess his ability to pay. As part of the treatment program for sexual disorders, the defendant shall participate in
  polygraph exan1inations and/ or visual response testing to obtain information necessary for risk management and correctional treatment.

 3. The defendant shall not associate with or have any contact with convicted sex offenders unless in a therapeutic setting and with the permission of the U.S.
 Probation Department.

  4. The defendant shall not associate with children under the age of 18, unless a responsible adult is present, and he has prior approval from the Probation
  Department. Prior approval does not apply to contacts which are not known in advance by the defendant where children are accompanied by a parent or
  guardian or for incidental contacts in a public setting. Any such non-pre-approved contacts with children must be reported to the Probation Department as soon
  as practicable, but no later than 12 hours. Upon commencing supervision, the defendant shall provide to the Probation Department the identity and contact
  information regarding any family members or friends with children under the age of 18, whom the defendant expects to have routine contact with, so that the
  parents or guardians of these children may be contacted and the Probation Department can approve routine family and social interactions such as holidays and
  other family gatherings where such children are present and supervised by parents or guardians without individual approval of each event.

 5. If the defendant cohabitates with an individual who has minor children, the defendant will inform that other party of his prior criminal history concerning
 his sex offense. Moreover, he will notify the party of his prohibition of associating with any child(ren) under the age of 18, unless a responsible adult is
 present.

 6. The defendant shall report to the Probation Department any and all electronic communications service accounts [as defined in 18 U.S.C. § 2510(15)] used for
 user communications, dissemination and/or storage of digital media files (i.e. audio, video, images). This includes, but is not limited to, email accounts, social
 media accounts, and cloud storage accounts. The defendant shall provide each account identifier and password, and shall report the creation of new accounts,
 changes in identifiers and/or passwords, transfer, suspension and/or deletion of any account within 5 days of such action. Failure to provide accurate account
 information may be grounds for revocation of release. The defendant shall permit the Probation Department to access and search any account(s) using the
 defendant's credentials pursuant to this condition only when reasonable suspicion exists that the defendant has violated a condition of his supervision and that
 the account(s) to be searched contains evidence of this violation. Failure to submit to such a search may be grounds for revocation of release.

 7. The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(I)), other electronic
 communications or data storage devices or media, or office, to a search conducted by a United States probation officer. Failure to submit to a search may be
 grounds for revocation of release. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition. An
 officer may conduct a search pursuant to this condition only when reasonable suspicion exists that the defendant has violated a condition of his supervision and
 that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

 8. The defendant is not to use a computer, Internet capable device, or similar electronic device to access any "visual depiction" (as defined in 18 U.S.C. § 2256),
 including any photograph, film, video, picture, or computer or computer-generated image or picture, whether made or produced by electronic, mechanical, or
 other means, of sexually explicit conduct" (as defined in 18 U.S.C. § 2256). The defendant shall also not use a computer, Internet capable device or similar
 electronic device to view images of naked children. The defendant shall not use his computer to view sexually explicit conduct or visual depictions of naked
 children stored on related computer media, such as CDs or DVDs, and shall not communicate via his computer with any individual or group who promotes the
 sexual abuse of children. The defendant shall cooperate with the United States Probation Office's Computer and Internet Management/Monitoring ("CIMP")
 program. Cooperation shall include, but not be limited to, identifying computer systems (as defined in 18 U.S.C. § I 030(e)( I)), Internet-capable devices, and/or
 any electronic media capable of data storage the defendant has access to, allowing an initial examination of the device(s), and installation of monitoring
 software/hardware on the device(s), at the defendant's expense. The monitoring software/hardware is authorized to capture and analyze all data processed by
 and/or contained on the device, including the geolocation of the device. The Probation Office may access the device and/or data captured by the monitoring
 software/hardware at any time with or without suspicion that the defendant has violated the conditions of supervision. The defendant may be limited to possessing
 only one personal Internet capable device, to facilitate the Probation Office's ability to effectively manage and monitor the device. The defendant shall also permit
 seizure and removal of computer systems, Internet-capable devices, and any electronic media capable of data storage for further analysis by law enforcement or
 the Probation Office based upon reasonable suspicion that a violation of a condition of supervision or unlawful conduct by the defendant has or is about to
 occur. Failure to comply with the monitoring, seizure and/or search of any computer systems, Internet-capable devices, and any electronic media capable of
 data storage may result in adverse action such as sanctions and/or revocation. The defendant shall inform all parties that access a monitored device, that the
 device is subject to search and monitoring.

 9. The defendant shall refrain from contacting the victims of the offense. This means that he shall not attempt to meet in person, communicate by letter,
 telephone, email, the Internet, or through a third party, without the knowledge and permission of the Probation Department.

 I 0. Upon request, the defendar1t shall provide the U.S. Probation Department with full disclosure of his financial records, including co-mingled income,
 expenses, assets, and liabilities, to include yearly income tax returns. With the exception of the financial accounts repo1ted and noted within the presentence
 repo1t, the defendant is prohibited from maintaining and/or opening any additional individual and/or joint checking, savings, or other financial accounts, for
                                                                         APPENDIX 17
                     Case: 23-1449      Document: 14         Filed: 08/02/2023     Pages: 77
                  Case: 1:19-cr-00567 Document #: 428 Filed: 03/07/23 Page 6 of 8 PageID #:12834
ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
                                                                                                                                              Judgment – Page 6 of 8
DEFENDANT: ROBERT SYLVESTER KELLY
CASE NUMBER: 1:19-CR-00567(1)

 either personal or business purposes, without the knowledge and approval of the U.S. Probation Department. The defendant shall cooperate with the Probation
 Officer in the investigation of their financial dealings and shall provide truthful monthly statements of their income and expenses. The defendant shall cooperate
 in the signing of any necessary authorization to release information forms permitting the U.S. Probation Department access to their financial information and
 records.

 11. The defendant shall comply with any possible restitution orders.




                                                                        APPENDIX 18
                      Case: 23-1449     Document: 14          Filed: 08/02/2023    Pages: 77
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ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
                                                                                                                                   Judgment – Page 7 of 8
DEFENDANT: ROBERT SYLVESTER KELLY
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                                              CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                            Assessment                    Restitution           Fine                    AVAA Assessment*       JVTA Assessment**
 TOTALS                                     $600.00              $42,000.00                   $.00                   $.00                     $.00


 ☐      The determination of restitution is deferred until  . An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
        determination.
 ☐      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
        victims must be paid before the United States is paid.

     Restitution of $42,000.00 to:

          Pauline

      ☐           Restitution amount ordered pursuant to plea agreement $

      ☐           The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
                  6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
      ☒           The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                  ☒               the interest requirement is waived for the restitution.

                  ☐               the interest requirement for the            is modified as follows:

      ☐           The defendant’s non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine
                  obligations.

      * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
      ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
      *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
      September 13, 1994, but before April 23, 1996.




                                                                     APPENDIX 19
                        Case: 23-1449    Document: 14         Filed: 08/02/2023    Pages: 77
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ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
                                                                                                                           Judgment – Page 8 of 8
DEFENDANT: ROBERT SYLVESTER KELLY
CASE NUMBER: 1:19-CR-00567(1)


                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A      ☐       Lump sum payment of $              due immediately.

               ☐         balance due not later than        , or

               ☐         balance due in accordance with ☐ C, ☐ D, ☐ E, or ☐ F below; or


B      ☒       Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

C      ☐       Payment in equal         (e.g. weekly, monthly, quarterly) installments of $      over a period of        (e.g., months or years), to
               commence         (e.g., 30 or 60 days) after the date of this judgment; or

D      ☐       Payment in equal         (e.g. weekly, monthly, quarterly) installments of $       over a period of       (e.g., months or years), to
               commence         (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E      ☐       Payment during the term of supervised release will commence within         (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F      ☐       Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐      Joint and Several

Case Number                                        Total Amount           Joint and Several          Corresponding Payee, if
Defendant and Co-Defendant Names                                          Amount                     Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

☐      The defendant shall pay the cost of prosecution.

☐      The defendant shall pay the following court cost(s):

☐      The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.



                                                                     APPENDIX 20
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Case: 1:19-cr-00567 Document #: 436 Filed: 03/17/23 Page 1 of 90 PageID #:12903
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                                    APPENDIX 21
        Case: 23-1449      Document: 14              Filed: 08/02/2023       Pages: 77
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                                        APPENDIX 22
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                                     APPENDIX 23
        Case: 23-1449       Document: 14            Filed: 08/02/2023      Pages: 77
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        HFHVVDU         7KH S USRVHV RI VH WH FL J          ZKLFK , EULHIO         KDG

      PH WLR HG         5HIOHFW WKH VHULR V HVV RI WKH RIIH VH                SURPRWH

      UHVSHFW IRU WKH ODZ          SURYLGH M VW S         LVKPH W     SURYLGH DGHT DWH

      GHWHUUH FH        D G SURWHFW WKH S EOLF

                   1RZ    ZH VWDUW R W        WKH VHULR V HVV RI WKH RIIH VH LV

      WKH    DW UH D G FLUF PVWD FHV RI WKH RIIH VH                   $ G   RI FR UVH

      HYHU ERG     DJUHHV WKDW WKH         DW UH RI WKLV RIIH VH LV KRUULEOH

      KRUULILF      $E VH RI       R    J JLUOV    VH     WDSHV   WDSHV EHL J L      WKH

      S EOLF D G FD        RW EH        HYH    WKR JK 0U    .HOO      V PL LR V VSH W

      K    GUHGV D G K      GUHGV RI WKR VD GV RI GROODUV WU L J WR JHW

      WKHVH WDSHV EDFN         $ G      REYLR VO      WKH   ZHUH       RW DEOH WR GR

      VR    D G WKH      UH R W WKHUH L        WKH S EOLF D G WKH        FD   W EH

      UHPRYHG      7KH GHIH GD W V DFWLR V DUH VHH                R   WKH WDSHV




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                       7KH R O      SRVVLEOH DPHOLRUDWL J LV WKDW KH GLG         W

       DSSDUH WO           L WH G WR WUDIILF WKH WDSHV            H FHUWDL O    ZDV

       KRUUH GR VO            HJOLJH W L     KRZ KH NHSW WKHP      $V , UHPHPEHU       ,

       WKL N /LVD 9D          $OOH    VDLG WKDW VKH IR       G WKHP L     , J HVV     D

       EDFNSDFN VLWWL J R            WKH IORRU    D G VR VKH M VW KHOSHG KHUVHOI

       WR WKHP         $ G WKDW VWDUWHG R W D UDWKHU .H VWR H             RS NL G RI

       RSHUDWLR        L     ZKLFK WKHVH WDSHV VSUHDG R W WKUR JK WKH FR              WU

       $ G .HOO        V PL LR V VSH W K        GUHGV RI WKR VD GV RI GROODUV D G

       HIIRUW WU L J WR JHW WKHP EDFN                 7KH   ZHUH REYLR VO       DEOH WR

      GR VR

                      7KLV ZDV      RW SUHS EHVFH W VH      FKLOG SRU      ZKLFK LV D

      SDUWLF ODU W SH            $ G WKHUH LV        DV ,     GHUVWD G LW     EDVHG

        SR    'U   'LHW      V UHSRUW     WKDW 0U    .HOO   LV   RW D SHGRSKLOH

          W   DJDL        WKHVH WDSHV JRW R W WKHUH         $ G WKDW V WKH      DW UH

      D G FLUF PVWD FHV RI WKH RIIH VH                $ G LW V KRUUH GR V       D G

      HYHU ERG        DJUHHV ZLWK WKDW         $ G LW V GHVHUYL J RI YHU            YHU

      VHULR V FR VHT H FHV WR 0U              .HOO

                      1RZ    WKH KLVWRU      D G FKDUDFWHULVWLFV       WKDW ERWK VLGHV

      KDYH JR H L WR          0V     R MHD    SRL WV R W WKDW KH KDG D

      IDWKHUOHVV FKLOGKRRG D G KH ZDV UDLVHG L                SRYHUW      DOFRKROLVP

      L    WKH IDPLO            H ZDV V EMHFW WR ZKDW KDV EHH             D   LFH

      H SKHPLVP             DGYHUVH FKLOGKRRG H SHULH FHV        D RWKHU ZRUG IRU

      VH      DE VH         H LV PDUJL DOO     LOOLWHUDWH        H KDV D OHDU L J

      GLVDELOLW              LV HG FDWLR     LV PL LPDO

                          W FR WUDVW WR WKDW     KH V D P VLF JH L V          0 OWLSOH




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       *UDPP    DZDUGV           H ZURWH P VLF IRU KLPVHOI D G PD            RWKHU

       IDPR V P VLFLD V            LV VR J ZDV IHDW UHG L          D PRYLH ZLWK

       0LFKDHO -RUGD          $OO RI D V GGH             KHUH V D SHUVR      ZRUNL J R

       WKH VWUHHW D G DOO RI D V GGH            KH H GV       S ZLWK PLOOLR V RI

       GROODUV L     FDVK     ZLWKR W D       ERG    UHDOO    WKHUH WR H SODL         KRZ

       KH VKR OG KD GOH KLPVHOI           ,W LV FOHDU KH ZD WHG PR H                WKH

       VDLG     R   GR    W      HHG D FUHGLW FDUG       KHUH V VRPH FDVK        M VW

       WDNH WKH FDVK        VH LW ZKHUHYHU      R      ZD W WR GR LW      JLYL J KLP

       K    GUHGV RI WKR VD GV RI GROODUV L              FDVK

                   2 H RI WKH WKL JV WKDW RFF UUHG WR PH G UL J WKH

      WULDO    D G ZH IR         G R W ZKH   ZH JRW WKH 3UHVH WH FH 5HSRUW

      ZKHUH ZDV WKH ,56 L          DOO WKLV ZLWK WKLV PR H             JRL J R W     WKLV

      FDVK EHL J         FRPL J R W RI WKH ED N KD G RYHU ILVW                  $ G ZH

      IR    G R W WKDW       , WKL N   WKHUH V           PLOOLR    ZRUWK RI ,56

      OLH V DJDL VW KLP F UUH WO             DFFRUGL J WR WKH 36,

                    H GLG       VH VRPH RI WKH PR H         IRU JRRG      7KHUH LV

      HYLGH FH WKDW KH JDYH PR H             WR PD      SHRSOH ZKR PHUHO             VRPH

      RI WKH SHRSOH GLG          W DVN LW

                   $ G    WKH      WKH IL DO WKL J LV WKDW UDWKHU WKD              EHL J

      D SHGRSKLOH        KH V      DFFRUGL J WR WKH GLDJ RVLV            DV ,

          GHUVWRRG LW     RWKHU VSHFLILF SDUDSKLOLF GLVRUGHU               PHD L J KH

      KDV D VH           D SUREOHP ZLWK FR WUROOL J KLV VH               ZKLFK LV

      SUHWW    REYLR V IURP WKH HYLGH FH L              WKLV SDUWLF ODU FDVH

                   6R    ZH KDYH D FDVH ZKHUH            LW V DOZD V GLIILF OW

      ZKH     R    LPSRVH D VH WH FH EHFD VH LW V YHU              HDV    WR




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          GHUVWD G       2 H RI WKH WKL JV WKDW , WKL N ZH VKR OG PDNH

       YHU    FOHDU      WKDW     GHU WKH IHGHUDO V VWHP ZH KDYH WU WK L

       VH WH FL J        ,W V         OLNH WKH 6WDWH RI ,OOL RLV             ZKHUH    R   JHW

       D GD    IRU GD     IRU JRRG WLPH           6R WKDW LI       R   VH WH FH VRPHERG

       WR       HDUV     WKH     UH DFW DOO       JRL J WR VHUYH              OHVV WKH

       UHDOO    PLVEHKDYH         ,     WKH IHGHUDO V VWHP          V DOO      R     JHW JRRG

       WLPH RI DUR        G WH    SHUFH W       6R     D      HDU VH WH FH ZR OG EH

       DSSUR LPDWHO              HDUV     DV RSSRVHG WR

                    6R    ZH UH        RW WDONL J DER W           R PDWWHU ZKDW , GR

      0U    .HOO   LV    RW JRL J R W WKH GRRU DIWHU WRGD                     H V      RW

      JRL J R W WKH GRRU L             WKH    H W WH      HDUV        H V   RW JRL J R W

      WKH GRRU L        WKH     H W       HDUV

                   $ G R H RI WKH WKL JV WKDW ZH VKR OG EHDU L                      PL G     KH

      LV       HDUV ROG F UUH WO              DV , UHFDOO LW      IURP WKH 36,           $ G

      DV 0V      R MHD    SRL WHG R W          KH KDV D OLIH H SHFWD F            RI     RW D

      KHOO RI D ORW PRUH              , PHD      RW       PD EH HLJKW       WH      HDUV

      1RZ    RI FR UVH WKDW V D OLIH H SHFWD F                   ZKLFK LV EDVHG R

      VWDWLVWLFV         RW R          KH PD   R WOLYH LW          H FR OG       RW OLYH

      LW

                      W LW V LPSRUWD W WR             RWH WKDW KH LV             HDUV RI

      DJH    D G KH ZLOO        RW FRPSOHWH KLV VH WH FH IURP 1HZ                 RUN       WLO

      KH V DW OHDVW VKRUW               DW OHDVW FORVH WR              HDUV RI DJH          6R

      WKH JRYHU PH W LV DVNL J IRU                  WR DGG D RWKHU            HDUV       ZKLFK

      DVV PL J WKDW KH            ZKLFK FR OG EH DV P FK DV                  EHIRUH KH

      JHWV R W




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                                                
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                   1RZ     WKHUH V    R T HVWLR      WKDW     ZHOO      , V SSRVH

       WKHUH V D WKHRUHWLF SRVVLELOLW             D SHUVR    FR OG OLYH WR EH

       E W LW ZR OG       RW EH D    ZKHUH    HDU ZKDW ZH FR OG H SHFW              6R

       KLV FKD FHV RI V UYLYL J           EDVHG R     VWDWLVWLFV      WKH VH WH FH KH

       DOUHDG     KDV LV    RW JRRG         W WKH VH WH FH WKDW WKH JRYHU PH W

       LV SURSRVL J       LW ZR OG EH        WKHUH V     R FKD FH

                   7KH 8 6     6H WH FL J     RPPLVVLR      KDV L GLFDWHG WKDW D

       GH IDFWR OLIH VH WH FH LV             PR WKV      E W WKDW V EDVHG R          WKH

       DYHUDJH DJH RI D SULVR HU UHFHLYL J V FK D VH WH FH                     ZKLFK LV

      , EHOLHYH     WKH DYHUDJH DJH LV               7KH PHGLD       DJH LV         6R

        R   YH JRW D ELJ GLVFUHSD F         RI FORVH WR          HDUV     GLIIHUH FH

      EHWZHH     ZKDW WKH    FR VLGHU WR EH D GH IDFWR OLIH VH WH FH

      PR WKV     IRU D       HDU ROG SHUVR

                    W D VH WH FH LI FR VHF WLYH            D G LI , JDYH WKH

      VH WH FH WKDW WKH JRYHU PH W LV UHT HVWL J                 R    UH WDONL J

      DER W        PR WKV    ZKLFK LV D UDWKHU V EVWD WLDO                DERYH

      ZKDW V FR VLGHUHG DOUHDG           WR EH D GH IDFWR OLIH VH WH FH

                  1RZ     WKH * LGHOL H PD       DO LGH WLILHV DJH DV D

      SRWH WLDOO      UHOHYD W VH WH FL J IDFWRU            7KDW V              /LIH

      H SHFWD F     LV D UHOHYD W IDFWRU IRU ROGHU RIIH GHUV                  1RZ   WKH

      6HYH WK     LUF LW FDVH RI 8 6        YV    : U L JHU           )   G

      VWDWHG      7KHUH LV D ZRUWK       WUDGLWLR      WKDW GHDWK L       SULVR     LV

        RW WR EH RUGHUHG OLJKWO          D G WKH SUREDELOLW          RI D FR YLFW ZKR

      ZLOO    RW OLYH R W KLV VH WH FH VKR OG FHUWDL O                JLYH SD VH WR

      WKH VH WH FL J FR UW          ,    FDVHV WKDW GR      W UHFRJ L H DJH DV D




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       IDFWRU     ZKHUH LW V EHH        UHI VHG LV IRU D GRZ ZDUG GHSDUW UH

         RW IRU D        SZDUG GHSDUW UH

                    1RZ       ZH JHW L WR WKH LVV H RI WKH GHWHUUH FH D G

       SURWHFWLR     RI WKH S EOLF           ZKLFK LV D YHU          LPSRUWD W LVV H L

       VH WH FL J         $ G WKDW V EHH          LPSUHVVHG E        WKH JRYHU PH W

       VD L J WKDW WKLV PD            KH VKR OG        RW EH DOORZHG R W ZKHUH KH V

       JRL J WR EH GRL J H DFWO              ZKDW KH GLG EHIRUH           $ G - GJH

       3RV HU VDLG            R UWV RIWH        DFN RZOHGJH D ORZHU UDWH RI

       UHFLGLYLVP DPR J ROGHU GHIH GD WV                    7KDW V 8 6    YV    -DFNVR

                   6R    WKH VSHFLILF GHWHUUH FH KHUH ZR OG DSSHDU WR EH

      UHODWLYHO     PL LPDO         'HIH GD W ZLOO EH               LI KH V DOLYH ZKH

      KH JHWV R W RI WKH 1HZ           RUN VH WH FH           RU FORVH WR          $ G KLV

      PHWKRG RI RSHUDWLR            KLV 02       DV FDPH R W G UL J WKH FR UVH RI

      WKH WULDO     ZDV JURRPL J           R     J JLUOV      1RZ   KH ZDV JURRPL J WKH

        R    J JLUOV ZKH       KH ZDV L        KLV    V D G KH ZDV D PLOOLR DLUH

      D G KH ZDV D V SHUVWDU               :KH    KH JHWV R W L       KLV     V   WKHUH

      ZLOO EH IHZ        R    J JLUOV WKDW ZR OG EH V VFHSWLEOH WR KLV

      FKDUPV DV D              HDU ROG ZLWK          R PR H   D G     R SURVSHFWV

         HDU ROGV DUH PRUH L WHUHVWHG                RW L     JURRPL J    R   J ZRPH

      E W SUREDEO        L    WKHLU SURVWDWH D G WKHLU DUWKULWLV D G WKH

      RWKHU       DOO WKH IDFWRUV WKDW JR L WR WKH DJL J SURFHVV

                   6R    D     ZD    DV IDU DV LI , ZDV JRL J WR VH WH FH 0U

            , ZR OG SUREDEO         KDYH       FR VLGHUL J DOO WKH IDFWRUV WKDW

      , YH R WOL HG EHIRUH           , ZR OG KDYH SUREDEO            KDG D YDULD FH

        SZDUGV IURP WKH WRS H G RI WKH * LGHOL HV                    ZKLFK ZDV




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       $JDL     , WKL N WKHUH ZDV VRPH HYLGH FH                  M VWLILFDWLR       IRU WKH

       REVWU FWLR         D G VRPH        D G EHFD VH RI WKH L FUHDVH L                WKH

       F UUH W * LGHOL HV           VR WKDW L      DOO SUREDELOLW         LI , ZDV

       VH WH FL J 0U        .HOO     DV D UHV OW RI            , ZR OG SUREDEO         JLYH

       KLP D VH WH FH L        WKH       HLJKERUKRRG RI              PR WKV

                     6R    , ZLOO        LW VHHPV WR PH WKDW            GHU DOO WKH IDFWV

       D G FLUF PVWD FHV           WKDW LV D YDOLG VH WH FH            WKH        PR WKV

          W , P JRL J WR PDNH              WKH R O       SDUW WKDW V JRL J WR EH

       FR VHF WLYH ZLOO EH               PR WKV     6R     WKH VH WH FH ZR OG EH

      PR WKV FR F UUH W           WR EH IROORZHG E              PR WKV FR VHF WLYH

      , OO KDYH WR ZRUN WKDW R W R               WKH YDULR V FR        WV         W WKDW

      ZR OG EH WKH VH WH FH

                    :KDW ZDV WKH WHUPV RI V SHUYLVHG UHOHDVH RI - GJH

      'R    HOO "    'RHV D       ERG    N RZ"

                    06     21-($1       , GR      R U    R RU

                    7 (    2857     :KDW ZHUH

                    06     21-($1        ROG R      , KDYH WR S OO LW           S UHDO

      T LFN

                    7 (    2857     3DUGR "

                    06     21-($1       , FD     S OO LW     S UHDO T LFN

                    7 (    2857     ,V LW P FK GLIIHUH W WKD             ZKDW 0U       $OSHU

      KDV V JJHVWHG"

                    , J HVV S W D RWKHU ZD              0V    R MHD      KDYH     R

      UHYLHZHG WKH SURSRVHG WHUPV RI V SHUYLVHG UHOHDVH"

                    06     21-($1       , KDYH      R U      R RU




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                                                                                            

                   7 (    2857     , WKL N           ZHOO    LW V UHOHYD W         LW V

         RW SDUWLF ODUO       UHOHYD W

                   $UH WKHUH D        WKDW       R   REMHFW WR"

                   06     21-($1      , GLG       RW VHH D           R U    R RU

                   7 (    2857     ,V WKH JRYHU PH W VDWLVILHG ZLWK WKH

       SURSRVHG WHUPV RI V SHUYLVHG UHOHDVH"

                   06    $33(17(1*       , P VRUU           R U   R RU"

                   7 (    2857     7KH WHUPV RI V SHUYLVHG UHOHDVH WKDW ZHUH

       V JJHVWHG E       0U   $OSHU

                  06    $33(17(1*          HV       R U   R RU   WKRVH DUH DFFHSWDEOH

      WR WKH JRYHU PH W

                  7 (    2857     2ND

                  6R    , ZLOO PDNH WKHP FR F UUH W ZLWK WKH WHUPV RI

      V SHUYLVHG UHOHDVH LPSRVHG E              - GJH 'R      HOO

                  , DVV PH VKH GLG KDYH D WHUP RI V SHUYLVHG UHOHDVH L

      WKH VH WH FH      GLG VKH      RW"

                  06     21-($1       HDK       VKH GLG

                  7 (    2857     2ND

                  1RZ    ZKHWKHU RU        RW WKDW FD       EH GR H

                  0U    $OSHU   LV WKDW VRPHWKL J WKDW FD                 EH GR H RU LV

      WKDW M VW WRWDO FR I VLR          LI WKHUH V GLIIHUH FHV"

                  05    $/3(5     , EHOLHYH WKDW WKHUH FD               EH GLIIHUH W

                  7 (    2857     3DUGR "

                  05    $/3(5     , GR EHOLHYH WKDW WKHUH FD               EH GLIIHUH W

      VHWV RI FR GLWLR V          H KDV WKH 1HZ            RUN FR GLWLR V D G WKH




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                                                
                                                                                          

         KLFDJR

                   7 (     2857     , VDLG PDNL J WKHP FR F UUH W            ,W V

       SUREDEO     LUUHOHYD W D      ZD     EDVHG R     WKH OH JWK RI WKH

       VH WH FH

                   06      21-($1    6KH RUGHUHG ILYH          HDUV    V SHUYLVHG

       UHOHDVH      R U    R RU

                   7 (     2857     $OO ULJKW

                   :K     GR   W ZH M VW OHDYH LW WKDW ZD              , M VW ZR     W

                   'R , KDYH WR LPSRVH D WHUP RI V SHUYLVHG UHOHDVH"

                  05     $/3(5      HV     R U    R RU

                  7 (     2857     2ND

                  :K     GR   W , M VW LPSRVH D ILYH          HDU FR F UUH W R H

         GHU WKH VDPH          LV WKHUH D        REMHFWLR    WR WKDW     LI , PDNH

      WKHP     GHU WKH VDPH WHUPV"

                  05     $/3(5      R U    R RU    , ZLOO     RWH WKH PD LP P WHUP

      RI V SHUYLVHG UHOHDVH LV WKUHH              HDUV

                  7 (     2857     7KUHH    HDUV"     2ND

                  7KUHH       HDUV FR F UUH W WR WKH ILYH         HDUV    WKH

                  $ G , OO ZDLYH D IL H EHFD VH RI L DELOLW                WR SD

                  6R     WKH VH WH FH LV           PR WKV             PR WKV

      FR F UUH W WR WKH 1HZ         RUN VH WH FH            PR WKV FR VHF WLYH WR

      WKH 1HZ     RUN VH WH FH       1R IL H        7HUP RI V SHUYLVHG

      UHOHDVH       ZKDW GLG , VD          WKDW , ZDV       W JRL J WR LPSRVH

                  06      21-($1    7KUHH     ULJKW"     7KUHH FR F UUH W

                  7 (     2857     7KUHH    HDUV FR F UUH W           GHU WKH VDPH




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                                                
                                                                                                 

       WHUPV DV LPSRVHG E          - GJH 'R        HOO

                   $ G   DOVR      KRZ PD        FR      WV LV WKH K           GUHG GROODU

       VSHFLDO DVVHVVPH W"          )RU KRZ PD           FR     WV"

                   06    $33(17(1*        6L        R U       R RU

                   7 (    2857      6L        6R              VSHFLDO DVVHVVPH W

                   0U    .HOO       R    UH H WLWOHG WR DSSHDO WKH VH WH FH

       LPSRVHG      'R   R        GHUVWD G WKDW          VLU"

                   7 ( '()(1'$17            HV     VLU

                   7 (    2857      , P OHG WR EHOLHYH E                  0V    R MHD    WKDW

        R   L WH G WR DSSHDO

                  $ G   0V       R MHD        R    ZLOO WDNH FDUH RI ILOL J WKH

        RWLFH RI DSSHDO IRU KLP            LV WKDW FRUUHFW"

                  06     21-($1         HV      R U      R RU

                  7 (    2857      $ G     0U     .HOO       LI      R   FD    W DIIRUG D

      DWWRU H     ZKLOH R      DSSHDO      R H ZLOO EH DSSRL WHG WR UHSUHVH W

        R

                  'R    R       GHUVWD G WKDW           VLU"

                  7 ( '()(1'$17            HV     , GR        R U    R RU

                  05    $/3(5       R U      R RU       WZR WKL JV            2 H   , M VW

      FKHFNHG D G , GLG PLVVSHDN                7KHUH LV        R PD GDWRU          V SHUYLVHG

      UHOHDVH

                  7 (    2857      $OO ULJKW

                  05    $/3(5           WKDW P VW EH LPSRVHG                  7KHUH V    R

      PL LP P WHUP

                  7 (    2857      2ND




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                                                
                                                                                           

                   05    $/3(5     0    RWKHU T HVWLR        ZR OG EH LI      R   GR

                   7 (    2857     - VW WR PDNH LW HDV            ZK   GR   W ZH M VW

         RW LPSRVH D WHUP RI V SHUYLVHG UHOHDVH

                   05    $/3(5     7KH R O    FR FHU        ZLWK WKDW       R U    R RU

       ZR OG EH LI WKHUH LV D             LI VRPHWKL J KDSSH V ZLWK WKH 1HZ

         RUN FDVH D G WKHUH LV D          DSSHDO      WKH    WKHUH ZR OG EH       R

       V SHUYLVHG UHOHDVH WR IROORZ L              WKLV FDVH

                   7 (    2857     :HOO

                   05    $/3(5          LI IRU VRPH UHDVR         WKDW FR YLFWLR        ZDV

      RYHUW U HG RU FDVH YDFDWHG            , GR EHOLHYH WKDW D WHUP ZR OG EH

      DSSURSULDWH L      WKLV FDVH WR U           FR F UUH W

                  7 (    2857     $OO ULJKW        , OO PDNH LW WKUHH         HDUV WHUP

      RI V SHUYLVHG UHOHDVH            GHU WKH VDPH WHUPV DV LPSRVHG E               - GJH

      'R    HOO

                  06     21-($1        R F UUH W       R U    R RU"

                  7 (    2857     3DUGR "

                  06     21-($1        R F UUH W"

                  7 (    2857      R F UUH W         HV     6R   L    WKH HYH W WKDW

      WKH VH WH FH LV YDFDWHG

                  1RZ ZH SURFHHG WR WKH LVV H RI UHVWLW WLR                      , KDYH D

      IHZ T HVWLR V WKDW , ZD W WR UDLVH R                 WKH LVV H RI

      UHVWLW WLR

                  :KDW GLG - GJH 'R         HOO    SURYLGH IRU UHVWLW WLR "            'LG

      VKH LVV H D       RUGHU RI UHVWLW WLR "

                  06     21-($1        HV   R U      R RU    VKH GLG       $ G ZH GLG




                                        APPENDIX 34
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                                                
                                                                                       

                   06    $33(17(1*       HV    R U   R RU     7KH JRYHU PH W

       PRYHV WR GLVPLVV WKH IRUIHLW UH DOOHJDWLR              L    WKH L GLFWPH W

                   7 (    2857     $OO ULJKW     :LWKR W REMHFWLR        WKH

       IRUIHLW UH LV GLVPLVVHG

                   06    $33(17(1*     1RWKL J I UWKHU IURP WKH JRYHU PH W

         R U   R RU

                   06     21-($1     1RWKL J IURP WKH GHIH GD W          7KD N    R

         R U   R RU

    

   

      , FHUWLI WKDW WKH IRUHJRL J LV D FRUUHFW WUD VFULSW IURP WKH
        UHFRUG RI SURFHHGL JV L WKH DERYH H WLWOHG PDWWHU
   

   
         V -RVHSK 5LFNKRII                                    )HEU DU
      2IILFLDO R UW 5HSRUWHU

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                                      APPENDIX 35
